                                Case 1:17-cr-00116-VM Document 66 Filed 02/02/20 Page 1 of 8
AO 245B (Rev. 09/ 19)       Judgment in a Criminal Case   (form modified within District on Sept. 30, 2019)
                            Sheet 1



                                               UNITED STATES DISTRICT COURT
                                                           Southern District of New York
                                                                                    )
              UNITED STATES OF AMERICA                                              )       JUDGMENT IN A CRIMINAL CASE
                                        V.                                          )
                                Barry Connell                                       )
                                                                                    )       Case Number: 17 CR 116
                                                                                    )       USMNumber: 53891-048
                                                                                    )
                                                                                    )        Jesse Siegel
                                                                                    )       Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)                 1 through 5 of Indictment 17 CR 116
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                        Nature of Offense                                                            Offense Ended
18 U.S.C. 656                          Embezzlement                                                                 2/3/2017            1
18 U.S.C. 1343, 1349                   Wire Fraud                                                                   2/3/2017            2

18 U.S.C. 1344, 1349                   Bank Fraud                                                                   2/3/2017            3

       The defendant is sentenced as provided in pages 2 through                   _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)        Any remaining                                Dis         ~ are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines , restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                   1/31/2020
                                                                                  Date of Imposi ion of Judgment
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    DOCl 'MENT
    1·' '. ' rTR OJ\JICA LLY FILED-

     DAi i. i : ..
                                                                                                       Honorable Victor Marrero, U.S.D.J.
                                                                                  Name and Title of Judge


                                                                                                                   1/31/2020
                                                                                  Date
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AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet IA
                                                                             Judgment-Page   2       of   8
DEFENDANT: Barry Connell
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                                             ADDITIONAL COUNTS OF CONVICTION

Title & Section                    Nature of Offense                     Offense Ended           Count
15 U.S.C. 80b-6, 80b-17             Investment Advisor Fraud              2/3/2017               4

18 U.S.C. 1028A                     Aggravated Identity Theft             2/3/2017               5
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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page   _ _,,3'------ of   8
 DEFENDANT: Barry Connell
 CASE NUMBER: 17 CR 116

                                                          IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Time served.




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at     - - - - - --           ---
                                                 D a.m.      D p.m.       on

           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at _ _ _ _ _ __ __ __ _ _ __                     , with a certified copy of this judgment.



                                                                                                UNITED ST A TES MARSHAL



                                                                         By   - -- - - --===-===:-:-:-:=-==--=:-==-:-:--:-==-=---c=---
                                                                                         DEPUTY UNITED STATES MARSHAL
                                                                                                                                       ----
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AO 245B (Rev. 09/ 19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                        Judgment-Page     4     of       8
DEFENDANT: Barry Connell
CASE NUMBER: 17 CR 116
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 3 years on Counts 1, 2, 3, and 4, and 1 year on Count 5, all to run concurrently.




                                                     MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.     ltf You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901 , et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                             Judgment-Page   _____ of _ _ _ _ __
DEFENDANT: Barry Connell
CASE NUMBER: 17 CR 116

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6.  You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers ).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S . probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                  Date - - -- -- - - - - --
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                       Judgment in a Criminal Case
                       Sheet 30- Supervised Release
                                                                          Judgment-Page   6   of   - ~ 8__
DEFENDANT: Barry Connell
CASE NUMBER: 17 CR 116

                                         SPECIAL CONDITIONS OF SUPERVISION
 (1) YOU MUST PROVIDE THE PROBATION OFFICER WITH ACCESS TO ANY REQUESTED FINANCIAL
 INFORMATION.

 (2) YOU MUST NOT INCUR NEW CREDIT CHARGES OR OPEN ADDITIONAL LINES OF CREDIT WITHOUT THE
 APPROVAL OF THE PROBATION OFFICER UNLESS YOU ARE IN COMPLIANCE WITH THE INSTALLMENT
 PAYMENT SCHEDULE.

 (3) YOU SHALL SUBMIT YOUR PERSON, AND ANY PROPERTY, RESIDENCE, VEHICLE, PAPERS, COMPUTER,
 OTHER ELECTRONIC COMMUNICATION, DATA STORAGE DEVICES, CLOUD STORAGE OR MEDIA, AND EFFECTS
 TO A SEARCH BY ANY UNITED STATES PROBATION OFFICER, AND IF NEEDED, WITH THE ASSISTANCE OF ANY
 LAW ENFORCEMENT. THE SEARCH IS TO BE CONDUCTED WHEN THERE IS REASONABLE SUSPICION
 CONCERNING VIOLATION OF A CONDITION OF SUPERVISION OR UNLAWFUL CONDUCT BY THE PERSON BEING
 SUPERVISED. FAILURE TO SUBMIT TO A SEARCH MAY BE GROUNDS FOR REVOCATION OF RELEASE. YOU
 SHALL WARN ANY OTHER OCCUPANTS THAT THE PREMISES MAY BE SUBJECT TO SEARCHES PURSUANT TO
 THIS CONDITION. ANY SEARCH SHALL BE CONDUCTED AT A REASONABLE TIME AND IN A REASONABLE
 MANNER.
                              Case 1:17-cr-00116-VM Document 66 Filed 02/02/20 Page 7 of 8
AO 245B (Rev. 09/19)      Judgment in a Criminal Case
                          Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment -   Page       7    of        8
 DEFENDANT: Barry Connell
 CASE NUMBER: 17 CR 116
                                                    CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                          Assessment               Restitution                Fine                   AVAA Assessment*              JVTA Assessment**
 TOTALS               $   500.00               $                         $                       $                             $



 Ii'.!'   The determination ofrestitution is deferred until       4/30/2020 . An Amended Judgment in a Criminal Case (AO 245C) will be
          entered after such determination.

 D        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
          the priori!)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
          before the United States is paid.

 Name of Payee                                                    Total Loss***                  Restitution Ordered           Priority or Percentage




 TOTALS                                  $                         0.00              $______               o_.o_o_

 D         Restitution amount ordered pursuant to plea agreement $

 D        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

           D the interest requirement is waived for the           D    fine     D restitution.
           D the interest requirement for the          D fine         D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                        Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments
                                                                                                             Judgment - Page   8     of      8
 DEFENDANT: Barry Connell
 CASE NUMBER: 17 CR 116


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     D      Lump sum payment of$          500.00
                                          - - - -- - -
                                                                   due immediately, balance due

              D      not later than                                  , or
              liZl   in accordance with D C,             D D,      D E, or      liZl   F below; or

 B     D Payment to begin immediately (may be combined with                    • c,        D D, or     D F below); or
 C     D Payment in equal             _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g. , months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal             _ _ _ _ _ (e. g. , weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e. g. , months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D Payment during the term of supervised release will commence within _ _ _ _ _ (e.g.,          30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time ; or

 F     1iZJ   Special instructions regarding the payment of criminal monetary penalties:
               Payment of restitution must be made in the amount and on the terms provided in a separate Order to be submitted
               by the Government within 90 days.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                      Joint and Several            Corresponding Payee,
       (including def endant number)                            Total Amount                      Amount                      if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 Ill   The defendant shall forfeit the defendant's interest in the following property to the United States:
       Forfeiture as provided by Order dated January 31, 2020.


 Payments shall be arplied in the following order: (1) assessment, (2) restitution princ!J?al, (3) restitution interest, (4) AV AA assessment,
 (5) fine P.rincipal, (6) fine interest, (7) community restitution, (8) NTA assessment, (Y) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
